                Case 2:17-cr-00023-DAD Document 44 Filed 03/28/17 Page 1 of 2


     The Law Offices of Olaf W. Hedberg
1    Olaf W. Hedberg, State Bar #151082
     901 H St., Suite 673
2    Sacramento, California 95814
     (916) 447-1192 office
3    ohedberg@yahoo.com
4

5

6                             IN THE UNITED STATES DISTRICT COURT

7                          FOR THE EASTERN DISTRICT OF CALIFORNIA

8

9
                                                       Case Number: 2:17-CR-0023 TLN
10   UNITED STATES OF AMERICA,
                                                       DEFENDANT CURTIS PHILLIPS'
11        Plaintiff,                                   WAIVER OF PERSONAL APPEARANCE
                                                       and ORDER
12   v.

13   CURTIS PHILLIPS,
14
          Defendant.
15

16

17
              Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant, CURTIS
18
     PHILLIPS, hereby waives the right to be present in person in open court upon the hearing of any
19
     motion or other proceeding in this case, including, but not limited to, when the case is set for
20
     trial, when a continuance is ordered, and when any other action is taken by the court before or
21
     after trial, except upon arraignment, plea, empanelment of jury and imposition of sentence.
22
     Defendant hereby requests the Court to proceed during every absence of his which the Court
23
     may permit pursuant to this waiver; agrees that his interests will be deemed represented at all
24
     times by the presence of his attorney, the same as if the defendant were personally present; and
25


                                                      1
                Case 2:17-cr-00023-DAD Document 44 Filed 03/28/17 Page 2 of 2



1    further agrees to be present in court ready for trial any day and hour the Court may fix in his

2    absence.

3           The defendant further acknowledges that he has been informed of his rights under Title
4    18 U.S.C. §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to set times and
5    dates under that Act without his personal presence. The original signed copy of this waiver is
6    being preserved by the attorney undersigned.
7    Dated: March 24, 2017
8
                                                                  /s/ Curtis Phillips
                                                                   Curtis Phillips
9                                                          (Original retained by attorney)

10

11                  I agree and consent to my client’s waiver of appearance.

12

13   Dated: March 24, 2017                                 /s/ Olaf W. Hedberg
                                                           Olaf W. Hedberg
14                                                         Attorney for Sequoia Valverde
15

16

17   IT IS SO ORDERED.

18

19   Dated: March 28, 2017
                                                          Troy L. Nunley
20                                                        United States District Judge

21

22

23

24

25


                                                      2
